Case 2:05-cr-20308-.]DB Document 7 Filed 08/25/05 Page 1 of 2 Page|D 16

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UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF TENNESSEEBS hug 25 FH 3: 26
Western Division

ll.-lOMAS lrl. GOULD
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UNITED STATES OF AMERICA W,D §§ ,J\,‘!_ `jt;M
-vs- Case No. 2:05cr20308-001D

PATRICK D. MAXWELL

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT

Upon motion of the Governrnent, it is ORDERED that a detention hearing is set for
TUESDAY, AUGUST 30, 2005 at 2:30 P.M. before United States Magistrate Judge Tu M. Pham
in Courtroom No. 6, Third Floor, United States Courthouse and Federal Building, 167 North
Main, Mernphis, TN. Pending this hearing, the defendant shall be held in custody by the United
States Marshal and produced for the hearing.

D : A 25, 2005
garza

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

lIf not held immediately upon defendants first appearance, the hearing'may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendant 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

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with Rule 55 and/or 32(b) FRCrP en § \

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CR-20308 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

Thornas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

